
PER CURIAM.
| tDenied. We affirm the District Court ruling denying relator’s claim for ineffective assistance of counsel for lack of any evidentiary support. See La.C.Cr.P. art. 930.2. We affirm the District Court ruling denying relator’s sentencing claims as non-cognizable in post-conviction relief. See La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
Relator has filed and fully litigated his application for post-conviction relief in State Court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La. C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review.
